       Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 1 of 51


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                   x
                                                     :
UNITED STATES OF AMERICA
                                                     :     PRELIMINARY ORDER OF
               - v. -                                      FORFEITURE / MONEY JUDGMENT
                                                     :
SAMUEL BANKMAN-FRIED,                                        S6 22 Cr. 673 (LAK)
    a/k/a “SBF”                                      :
                Defendant.
                                                     :
----------------------------------                   x

               WHEREAS, on or about August 14, 2023, SAMUEL BANKMAN-FRIED (the

“Defendant”), was charged in a seven-count Superseding Indictment, S6 22 Cr. 673 (LAK) (the

“Indictment”), with wire fraud, in violation of Title 18, United States Code, Section 1343 and 2

(Counts One and Three); conspiracy to commit wire fraud, in violation of Title 18, United States

Code, Section 1349 (Counts Two and Four); conspiracy to commit securities fraud, in violation of

Title 18, United States Code, Section 371 (Count Five); conspiracy to commit commodities fraud,

in violation of Title 18, United States Code, Section 371 (Count Six); and conspiracy to commit

money laundering, in violation of Title 18, United States Code, Section 1956(h) (Count Seven);

               WHEREAS, the Indictment included a forfeiture allegation as to Counts One

through Four of the Indictment, seeking forfeiture to the United States, pursuant to Title 18, United

States Code, Section 981(a)(l)(C) and Title 28, United States Code, Section 2461(c), of any and

all property, real and personal, that constitutes or is derived from proceeds traceable to the

commission of said offenses, including but not limited to a sum of money in United States currency

representing the amount of proceeds traceable to the commission of offenses charged in Counts

One through Four of the Indictment and the following specific property:

           a) 55,273,469 shares of the stock of Robinhood Markets Inc. from Account Number
              499-30500 at ED&F Man Capital Markets, Inc., a/k/a “Marex,” formerly held in
              the name of “Emergent Fidelity Technologies,” seized by the Government on or
              about January 4, 2023 (the “Robinhood Shares”);
       Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 2 of 51



           b) $20,746,713.67 in United States currency formerly on deposit in Account Numbers
              499-30500 and 429-30500 at ED&F Man Capital Markets, Inc., a/k/a “Marex,” held
              in the name of “Emergent Fidelity Technologies,” seized by the Government on or
              about January 4, 2023;

           c) $49,999,500 in United States currency formerly on deposit in Account Number
              9000-1924-02685 at Farmington State Bank d/b/a “Moonstone Bank” held in the
              name of “FTX Digital Markets,” seized by the Government on or about January 4,
              2023;

           d) $5,322,385.32 in United States currency formerly held on deposit in Account
              Number 0000005090042549 at Silvergate Bank held in the name of “FTX Digital
              Markets,” seized by the Government on or about January 11, 2023;

           e) $719,359.65 in United States currency formerly on deposit in Account Number
              0000005090042556 at Silvergate Bank held in the name of “FTX Digital Markets,”
              seized by the Government on or about January 11, 2023;

           f) $1,071.83 in United States currency formerly on deposit in Account Number
              0000005090042564 at Silvergate Bank held in the name of “FTX Digital Markets,”
              seized by the Government on or about January 11, 2023;

           g) $94,570,490.63 in United States currency formerly on deposit in Account Number
              0000005091010037 at Silvergate Bank held in the name of FTX Digital Markets,”
              seized by the Government on or about January 19, 2023;

           h) Any and all monies, assets, and funds contained in Binance account number
              94086678;

           i) Any and all monies, assets, and funds contained in Binance.us account number
              35000066; and

           j) Any and all monies, assets, and funds contained in Binance.us account number
              35155204

((b) through (j), collectively, the “Indictment Property”);

               WHEREAS, the Indictment included a forfeiture allegation as to Count Five of the

Indictment, seeking forfeiture to the United States, pursuant to Title 18, United States Code,

Section 981(a)(l)(C) and Title 28 United States Code, Section 2461(c), of any and all property,

real and personal, that constitutes or is derived from proceeds traceable to the commission the

offense charged in Count Five of the Indictment, including but not limited to a sum of money in


                                                  2
       Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 3 of 51


United States currency representing the amount of proceeds traceable to the commission of the

offense charged in Count Five of the Indictment;

               WHEREAS, the Indictment included a forfeiture allegation as to Count Seven of

the Indictment, seeking forfeiture to the United States, pursuant to Title 18, United States Code,

Section 982(a)(l), of any and all property, real and personal, involved in the offense charged in

Count Seven of the Indictment, or any property traceable to such property, including but not

limited to a sum of money in United States currency representing the amount of property involved

in Count Seven of the Indictment, including the Indictment Property and the Robinhood Shares;

               WHEREAS, on or about September 1, 2023, the Court entered an interlocutory sale

order authorizing the Government to sell the Robinhood Shares;

               WHEREAS, on or about September 1, 2023, pursuant to the Court’s interlocutory

sale order, the Government sold the Robinhood Shares and realized a total of $605,694,411.59

from the sale of the Robinhood Shares (the “Robinhood Share Proceeds”);

               WHEREAS, on or about November 2, 2023, the Defendant was found guilty,

following a jury trial, of Counts One through Seven of the Indictment;

               WHEREAS, the Government has identified additional property, which is set forth

in Exhibit A attached hereto (collectively with the Indictment Property and the Robinhood Shares

Proceeds, the “Specific Property”), that (i) constitutes proceeds of the offenses charged in Counts

One through Five of the Indictment; and/or (ii) is property involved in the offense charged in Count

Seven of the Indictment;

               WHEREAS, the Government asserts that $11,020,000,000 in United States

currency represents (i) the amount of proceeds traceable to the commission of the offenses charged

in Counts One through Five of the Indictment that the Defendant personally obtained; and (ii) the

property involved in Count Seven of the Indictment;


                                                 3
       Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 4 of 51


               WHEREAS, the Government seeks the entry of a money judgment in the amount

of $11,020,000,000 in United States currency, for which the Defendant is jointly and severally

liable with co-defendants Caroline Ellison, Gary Wang, and Nishad Singh (the “Co-Defendants”)

up to the amount of forfeiture money judgments that may be entered against the Co-Defendants in

this case, as well as any other co-conspirators (“Co-Conspirators”) up to the amount of forfeiture

money judgments that may be entered against the Co-Conspirators for the conduct charged in

Counts One through Five and Seven of the Indictment, representing (i) the amount of proceeds

traceable to the commission of the offenses charged in Counts One through Five of the Indictment

that the Defendant, the Co-Defendants, or the Co-Conspirators, personally obtained and/or

controlled and (ii) the property involved in Count Seven of the Indictment;

                WHEREAS, the Government seeks to forfeit all right, title and interest of the

Defendant in the Specific Property as (i) proceeds traceable to the commission of the offenses

charged in Count One through Five of the Indictment, that the Defendant personally obtained

and/or controlled; and/or (ii) property involved in the offense charged in Count Seven of the

Indictment; and

               WHEREAS, pursuant to Title 21, United States Code, Section 853(g), and Rules

32.2(b)(3), 32.2(b)(6), and 32.2(c) of the Federal Rules of Criminal Procedure, the Government is

now entitled, pending any assertion of third-party claims, to reduce the Specific Property to its

possession, consistent with Federal Rule of Criminal Procedure 32.2, and to notify any person who

reasonably appears to be a potential claimant of their interest therein;

       NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

               1.      As a result of the offenses charged in Counts One through Five and Seven

of the Indictment, to which the Defendant was found guilty, a money judgment in the amount of

$11,020,000,000 in United States currency (the “Money Judgment”), for which the Defendant is

                                                  4
        Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 5 of 51


jointly and severally liable with the Co-Defendants and with any other Co-Conspirators up to the

amount of forfeiture money judgments that may ultimately be entered against the Co-Defendants

and Co-Conspirators for the conduct charged in Counts One through Five and Seven One of the

Indictment, shall be entered against the Defendant.

                2.      As a result of the offenses charged in Counts One through Five and Seven

of the Indictment, to which the defendant was found guilty, all of the Defendant’s right, title and

interest in the Specific Property is hereby forfeited to the United States for disposition in

accordance with the law, subject to the provisions of Title 21, United States Code, Section 853.

                3.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture as to Specific Property/Money Judgment is final as to the

Defendant, SAMUEL BANKMAN-FRIED, and shall be deemed part of the sentence of the

Defendant, and shall be included in the judgment of conviction therewith.

                4.      All payments on the outstanding Money Judgment shall be made by postal

money order, bank or certified check, made payable to the United States Marshals Service, and

delivered by mail to the United States Attorney’s Office, Southern District of New York, Attn:

Illicit Finance & Money Laundering Unit, 26 Federal Plaza, New York, New York 10278, and

shall indicate the Defendant’s name and case number.

                5.      The United States Marshals Service (or its designee) is hereby authorized

to deposit the payments on the Money Judgment into the Assets Forfeiture Fund, and the United

States shall have clear title to such forfeited property.

                6.      Upon entry of this Preliminary Order of Forfeiture as to Specific

Property/Money Judgment, the United States (or its designee) is hereby authorized to take

possession of the Specific Property and to hold such property in its secure custody and control.




                                                   5
        Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 6 of 51


                7.      Pursuant to Title 21, United States Code, Section 853(n)(1), Rule 32.2(b)(6)

of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of the

Supplemental Rules for Certain Admiralty and Maritime Claims and Asset Forfeiture Actions, the

United States is permitted to publish forfeiture notices on the government internet site,

www.forfeiture.gov. This site incorporates the forfeiture notices that have been traditionally

published in newspapers. The United States forthwith shall publish the internet ad for at least

thirty (30) consecutive days. Any person, other than the Defendant, claiming interest in the

Specific Property must file a Petition within sixty (60) days from the first day of publication of the

Notice on this official government internet web site, or no later than thirty-five (35) days from the

mailing of actual notice, whichever is earlier.

                8.      The published notice of forfeiture shall state that the petition (i) shall be for

a hearing to adjudicate the validity of the petitioner’s alleged interest in the Specific Property, (ii)

shall be signed by the petitioner under penalty of perjury, and (iii) shall set forth the nature and

extent of the petitioner’s right, title or interest in the Specific Property, the time and circumstances

of the petitioner’s acquisition of the right, title and interest in the Specific Property, any additional

facts supporting the petitioner’s claim, and the relief sought, pursuant to Title 21, United States

Code, Section 853(n).

                9.      Pursuant to Rule 32.2 (b)(6)(A) of the Federal Rules of Criminal Procedure,

the Government shall send notice to any person who reasonably appears to be a potential claimant

with standing to contest the forfeiture in the ancillary proceeding.

                10.     Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture with respect to specific property pursuant to Title 21, United States Code,

Section 853(n) and consistent with Federal Rule of Criminal Procedure 32.2, in which all interests




                                                   6
       Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 7 of 51


will be addressed. All specific property forfeited to the United States under a Final Order of

Forfeiture shall be applied towards the satisfaction of the Money Judgment.

               11.     Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

               12.    Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate

or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.




                                                7
       Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 8 of 51


              13.     The Court shall retain jurisdiction to enforce this Preliminary Order of

Forfeiture as to Specific Property/Money Judgment, and to amend it as necessary, pursuant to Rule

32.2 of the Federal Rules of Criminal Procedure.

Dated: New York, New York
       March ___, 2024


                                                    SO ORDERED:


                                                    HONORABLE LEWIS A. KAPLAN
                                                    UNITED STATES DISTRICT JUDGE




                                               8
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 9 of 51


                                EXHIBIT A

1.    All monies, assets, and funds contained in ED&F Man Capital Markets Inc. 430-
      0500, in the name of “Emergent Fidelity Technologies,” and all funds and assets
      traceable thereto;

2.    24885000.090498 units of Tether (USDT) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

3.    643041.47694904 units of DAI (DAI) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

4.    29.50308659 units of Ethereum (ETH) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

5.    24.4135385 units of Bitcoin (BTC) formerly held in Binance.us account number
      35155204 in the name of Alameda Research LTD;

6.    289.65502554 units of Ethereum (ETH) formerly held in Binance.us account
      number 35155204 in the name of Alameda Research LTD;

7.    290424.3928835 units of Tether (USDT) formerly held in Binance.us account
      number 35155204 in the name of Alameda Research LTD;

8.    127906.99952569 units of Cardano (ADA) formerly held in Binance.us account
      number 35155204 in the name of Alameda Research LTD;

9.    550 units of Litecoin (LTC) formerly held in Binance.us account number 35155204
      in the name of Alameda Research LTD;

10.   381905.612 units of Dogecoin (DOGE) formerly held in Binance.us account
      number 35155204 in the name of Alameda Research LTD;

11.   175.7145543 units of Bitcoin Cash (BCH) formerly held in Binance.us account
      number 35155204 in the name of Alameda Research LTD;

12.   331.660001 units of USD Coin (USDC) formerly held in Binance.us account
      number 35155204 in the name of Alameda Research LTD;

13.   39405.0056886 units of BUSD (BUSD) formerly held in Binance.us account
      number 35155204 in the name of Alameda Research LTD;

14.   18.65298573 units of BNB (BNB) formerly held in Binance.us account number
      35155204 in the name of Alameda Research LTD;

15.   182.1489 units of US Dollar (USD) formerly held in Binance.us account number
      35155204 in the name of Alameda Research LTD;

16.   132155.00260987 units of 0x (ZRX) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 10 of 51


17.   36.86187755 units of 1inch (1INCH) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

18.   3.5015641 units of Aave (AAVE) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

19.   1004933.48226167 units of AMP (AMO) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

20.   29.94781661 units of ApeCoin (APE) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

21.   82442.3 units of Aragon (ANT) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

22.   532.32735123 units of Augur v2 (REP) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

23.   1.15489039 units of Avalanche (AVAX) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

24.   4117.97540487 units of Axie Infinity (AXS) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

25.   28.73 units of Bancor (BNT) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

26.   49215.433193 units of Band Protocol (BAND) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

27.   39524.76329022 units of Basic Attention Token (BAT) formerly held in
      Binance.us account number 35000066 in the name of Alameda Research LTD;

28.   1.3773854 units of Bitcoin (BTC) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

29.   1.80962441 units of Bitcoin Cash (BCH) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

30.   271870.92611405 units of Cardano (ADA) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

31.   211.41049375 units of Cartesi (CTSI) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

32.   19.98876671 units of ChainLink (LINK) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

33.   70.18661601 units of Chiliz (CHZ) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

                                     2
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 11 of 51


34.   1232.1119377 units of Compound (COMP) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

35.   12.5088504 units of Cosmos (ATOM) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

36.   182.42003616 units of Curve (CRV) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

37.   311756.60697044 units of Decentraland (MANA) formerly held in Binance.us
      account number 35000066 in the name of Alameda Research LTD;

38.   737.70657339 units of Dogecoin (DOGE) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

39.   914.83983292 units of Elrond (EGLD) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

40.   190.41242266 units of Enjin Coin (ENJ) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

41.   172.76128409 units of EOS (EOS) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

42.   208.68 units of Fetch.Al (FET) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

43.   1.97268888 units of Filecoin (FIL) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

44.   182.563 units of Flow (FLOW) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

45.   10.59 units of Gitcoin (GTC) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

46.   138987.5 units of iExecRLC (RLC) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

47.   4.6252 units of Internet Computer (ICP) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

48.   0.6161 units of Kusama (KSM) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

49.   4958.92707192 units of Kyber Network Crystal (KNC) formerly held in Binance.us
      account number 35000066 in the name of Alameda Research LTD;

50.   3.52598049 units of Litecoin (LTC) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

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Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 12 of 51


51.   0.09948145 units of Maker (MKR) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

52.   8.584 units of NEAR Protocol (NEAR) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

53.   4055.01 units of Numeraire (NMR) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

54.   79.19204353 units of Ocean Protocol (OCEAN) formerly held in Binance.us
      account number 35000066 in the name of Alameda Research LTD;

55.   3938.84993469 units of OMG Network (OMG) formerly held in Binance.us
      account number 35000066 in the name of Alameda Research LTD;

56.   97608.07714082 units of Orchid (OXT) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

57.   248069 units of Origin Protocol (OGN) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

58.   22.63 units of Polkadot (DOT) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

59.   19.1760689 units of Polygon (MATIC) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

60.   0.288 units of Quant (QNT) formerly held in Binance.us account number 35000066
      in the name of Alameda Research LTD;

61.   124.57 units of Request Network (REQ) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

62.   657937.3 units of SHIBA INU (SHIB) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

63.   0.50728742 units of Solana (SOL) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

64.   826.7948669 units of Stellar Lumens (XLM) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

65.   725.07744225 units of Storj (STORJ) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

66.   23.15773377 units of Synthetix Network Token (SNX) formerly held in Binance.us
      account number 35000066 in the name of Alameda Research LTD;

67.   23050.04484988 units of Tezos (XTZ) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

                                     4
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 13 of 51


68.   733 units of The Sandbox (SAND) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

69.   29 units of TrueUSD (TUSD) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

70.   17.27458532 units of Unisawp (UNI) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

71.   2531.06771842 units of USD Coin (USDC) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

72.   0.53316413 units of Wrapped Bitcoin (WBTC) formerly held in Binance.us
      account number 35000066 in the name of Alameda Research LTD;

73.   5.37259785 units of yearn.finance (YFI) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

74.   2.0998284 units of BNB (BNB) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

75.   61.867 units of Celo (CELO) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

76.   4205419.6 units of DigiByte (DGB) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

77.   330.13 units of Fantom (FTM) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

78.   176.113269 units of MIOTA (IOTA) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

79.   14.473302 units of Nano (XNO) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

80.   14126.96408795 units of QTUM (QTUM) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

81.   2064654.7 units of Serum (SRM) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

82.   32.5 units of Theta Token (THETA) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

83.   294.68188779 units of PAX Gold (PAXG) formerly held in Binance.us account
      number 35000066 in the name of Alameda Research LTD;

84.   47066.1 units of TRON (TRX) formerly held in Binance.us account number
      35000066 in the name of Alameda Research LTD;

                                    5
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 14 of 51


85.    $1,136.15 U.S. Currency formerly held in Binance.us account number 35000066 in
       the name of Alameda Research LTD;

86.    94,149,325.156019 units of TetherUS (USDT) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

87.    750.18980528 units of Wrapped Bitcoin (WBTC) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

88.    40,285.32817616 units of BNB (BNB) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

89.    657.92 units of Bitcoin (BTC) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

90.    14,585,806.000000 units of Serum (SRM) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

91.    21,606,660.30 units of Ripple (XRP) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

92.    1933.52 units of Wrapped Ether (WETH) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

93.    2,656,657.30302526 units of Dai (DAI) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

94.    3,324,858.50 units of The Sandbox (SAND) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

95.    298,179.10587996 units of Uniswap (UNI) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

96.    1,078,928.47821475 units of BAND (BAND) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

97.    117,884.05706545 units of Ethereum Classic (ETC) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

98.    128,635.79 units of Mask Network (MASK) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

99.    274,454.66 units of Render Token (RNDR) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

100.   54,897,092,549.50 units of SHIBA INU (SHIB) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

101.   31,803.53 units of Axie Infinity (AXS) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

                                      6
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 15 of 51


102.   15,131,607.97 units of TRON (TRX) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

103.   744,212.83799922 units of KyberNetwork (KNC) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

104.   47,700.59 units of ApeCoin (APE) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

105.   270,105.78 units of Metal (MTL) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

106.   76,647.10 units of Aragon (ANT) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

107.   4,448,314.200037 units of Cardano (ADA) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

108.   80,443.757968 units of Qtum (QTUM) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

109.   730,809.09 units of Raydium (RAY) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

110.   15,242.10 units of Solana (SOL) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

111.   13,583,617.5908483 units of BUSD (BUSD) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

112.   612084.03000000 units of Nuls (NULS) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

113.   1,061,040.738563 units of Aergo (AERGO) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

114.   4,620.58 units of Ethereum (ETH) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

115.   631,959.285244 units of PowerLedger (POWR) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

116.   545,095.03753131 units of FTX Token (FTT) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

117.   416360.32850000 units of Ontology Gas (ONG) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

118.   697,437,118.449615 units of WINK (WIN) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

                                     7
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 16 of 51


119.   1880.85596884 units of Elrond eGold (EGLD) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

120.   448.47396321 units of Gnosis (GNO) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

121.   36622.97069983 units of Flow (FLOW) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

122.   381455.446400 units of Civic (CVC) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

123.   8687.40233482 units of Augur v2 (REP) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

124.   317420.831174 units of Orchid (OXT) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

125.   322,742.75119077 units of Bluzelle (BLZ) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

126.   83612.47502978 units of Yield Guild Games (YGG) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

127.   14288.54897397 units of iExecRLC (RLC) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

128.   184,690.40214601 units of Polkadot (DOT) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

129.   80838.52764800 units of Stacks (STX) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

130.   53713.42000000 units of Hive (HIVE) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

131.   121527.06284122 units of Komodo (KMD) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

132.   8295.32704012 units of UMA (UMA) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

133.   2,487,190.58449267 units of AMP (AMP) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

134.   62195.3445497 units of 0x (ZRX) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

135.   183,478.66603057 units of Ren (REN) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

                                      8
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 17 of 51


136.   3.56780387 units of yearn.finance (YFI) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

137.   11,645.73241825 units of Bitcoin Cash (BCH) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

138.   35,256.7962342 units of Golem (GLM) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

139.   10715.8987223 units of Frontier (FRONT) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

140.   278,965.27003663 units of Basic Attention Token (BAT) formerly held in
       Binance.us account number 94086678 in the name of Alameda Research LTD;

141.   6868.80000000 units of Cortex (CTXC) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

142.   75.26530412 units of Numeraire (NMR) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

143.   720.88398944 units of Litentry (LIT) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

144.   2161.746383 units of Storj (STORJ) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

145.   31,318.4272325 units of OMG Network (OMG) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

146.   54.37213401 units of Wing Token (WING) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

147.   5,957.882489010 units of Dogecoin (DOGE) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

148.   1371.927500 units of SingularityNET Token (AGIX) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

149.   3,058.472 units of Viberate (VIB) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

150.   26,104.4281127 units of 1inch (1INCH) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

151.   2676.12169338 units of Nebulas (NAS) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

152.   2492.67700000 units of Gifto (GTO) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

                                      9
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 18 of 51


153.   26,107.75499159 units of Curve (CRV) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

154.   8,505.87214 units of Celo (CELO) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

155.   3,210.44538565 units of Decentraland (MANA) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

156.   14,595.22985968 units of Synthetix Network Token (SNX) formerly held in
       Binance.us account number 94086678 in the name of Alameda Research LTD;

157.   121.306489 units of Ocean Protocol (OCEAN) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

158.   447,768.2573 units of DENT (DENT) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

159.   0.00208607 units of renBTC (RENBTC) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

160.   12,376.43358062 units of OriginToken (OGN) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

161.   5000.20657000 units of DigiByte (DGB) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

162.   31.93288271 units of Theta Token (THETA) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

163.   99.20866254 units of Gitcoin (GTC) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

164.   272.9522 units of Fetch.AI (FET) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

165.   289.1887458 units of MANTRA (OM) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

166.   352.86674268 units of Loopring (LRC) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

167.   62,427.26261 units of Algorand (ALGO) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

168.   1,060.754544 units of Measurable Data Token (MDT) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

169.   27,612.86729368 units of Reef (REEF) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

                                     10
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 19 of 51


170.   5,403.24231 units of IoTeX (IOTX) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

171.   289.173565 units of Request Network (REQ) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

172.   93,625.688081 units of Holo (HOT) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

173.   521.557933 units of Pundi X (PUNDIX) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

174.   47.26611115 units of Injective (INJ) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

175.   1,209.144850 units of WOO Network (WOO) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

176.   920,281.830480 units of Reserve Rights (RSR) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

177.   99,511.908300 units of WAX (WAXP) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

178.   20,679.332042 units of Enjin Coin (ENJ) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

179.   597.74385218 units of Compound (COMP) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

180.   35,664.70216949 units of THORChain (RUNE) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

181.   115,566.408615 units of The Graph (GRT) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

182.   184,889.132758 units of Chiliz (CHZ) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

183.   247.62397951 units of Maker (MKR) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

184.   3,332.52956029 units of Aave (AAVE) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

185.   10,391.51391488 units of Balancer (BAL) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

186.   259,753.66665821 units of Swipe (SXP) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

                                      11
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 20 of 51


187.   98,591.64417196 units of ChainLink (LINK) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

188.   6,481.84140775 units of Tezos (XTZ) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

189.   256,792.13967151 units of Hedera Hashgraph (HBAR) formerly held in
       Binance.us account number 94086678 in the name of Alameda Research LTD;

190.   328,471.759281 units of Nexo (NEXO) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

191.   122,572.64205808 units of Polygon (MATIC) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

192.   30,604.0636046 units of Cosmos (ATOM) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

193.   146,149.04537535 units of Filecoin (FIL) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

194.   2,654,127.825676 units of Fantom (FTM) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

195.   31,341.27163278 units of Litecoin (LTC) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

196.   30.574582 units of Orion Protocol (ORN) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

197.   24.94598894 units of API3 (API3L) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

198.   509.98964721 units of COTI (COTI) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

199.   11571.8557 units of JasmyCoin (JASMY) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

200.   168.45653655 units of Stargate Finance (STG) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

201.   100.38573 units of Kava (KAVA) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

202.   7419.3491 units of Alien Worlds (TLM) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

203.   485.89443744 units of Biconomy (BICO) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

                                      12
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 21 of 51


204.   277977.51093527 units of Spell token (SPELL) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

205.   5660.53412465 units of Gala (GALA) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

206.   7.96554833 units of Kusama (KSM) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

207.   8397.64513332 units of Alchemy Pay (ACH) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

208.   11463.36328737 units of Ankr (ANKR) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

209.   4904.4518 units of SuperFarm (SUPER) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

210.   36290.61077571 units of Threshold (T) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

211.   1365.71184967 units of ImmutableX (IMX) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

212.   3690.29013554 units of DIA (DIA) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

213.   612.13112316 units of Lido DAO (LDO) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

214.   748.99059382 units of NEAT Protocol (NEAR) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

215.   811286.1990669 units of Smooth Love Potion (SLP) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

216.   83649.77927294 units of Zilliga (ZIL) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

217.   24610 units of pNetwork (PNT) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

218.   435.44811323 units of Ethereum Name Service (ENS) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

219.   4031.36292126 units of Waves (WAVES) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

220.   408.86566303 units of Alchemix (ALCX) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

                                      13
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 22 of 51


221.   364.96584072 units of Avalanche (AVAX) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

222.   122086.63123572 units of IDEX (IDEX) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

223.   9661.78737657 units of Galxe (GAL) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

224.   5448.97821365 units of Badger (BADGER) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

225.   135195.32882483 units of NKN (NKN) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

226.   10536.69132991 units of Vulcan Forged PYR (PYR) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

227.   1406885.17429752 units of SKALE Network (SKL) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

228.   1112952.12873061 units of Coin98 (C98) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

229.   4575720.79018097 units of Clover Finance (CLV) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

230.   188.64615083 units of PAX Gold (PAXG) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

231.   1323315.33443 units of Bonfida (FIDA) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

232.   2023467.95871928 units of Audius (AUDIO) formerly held in Binance.us account
       number 94086678 in the name of Alameda Research LTD;

233.   575343.36522476 units of EOS (EOS) formerly held in Binance.us account number
       94086678 in the name of Alameda Research LTD;

234.   38978540277.05 units of Ruplah Token (IDRT) formerly held in Binance.us
       account number 94086678 in the name of Alameda Research LTD;

235.   162.1 units of Golem (GLM) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

236.   1486.56 units of Ankr (ANKR) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

237.   404.408 units of The Graph (GRT) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

                                     14
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 23 of 51


238.   82.3 units of Immutable X (IMX) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

239.   2877 units of SKALE Network (SKL) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

240.   67.34 units of Lido DAO (LDO) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

241.   7713.32 units of Alchemy Pay (ACH) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

242.   86.4935 units of Ethereum Name Service (ENS) formerly held in Binance.us
       account number 35000066 in the name of Alameda Research LTD;

243.   6359.81 units of Audius (AUDIO) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

244.   1742.95 units of My Neighbor Alice (ALICE) formerly held in Binance.us account
       number 35000066 in the name of Alameda Research LTD;

245.   104923 units of Threshold (T) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

246.   1747.64 units of Galxe (GAL) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

247.   1385.75 units of Balancer (BAL) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

248.   163507 units of SuperRare (RARE) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

249.   2470583 units of Alien Worlds (TLM) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

250.   266394 units of BOBA Token (BOBA) formerly held in Binance.us account
       number 35000066 in the name of Alameda Research LTD;

251.   176507 units of Stargate Finance (STG) formerly held in Binance.us account
       number 35000066 in the name of Alameda Research LTD;

252.   47.231 units of Sushi (SUSHI) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

253.   256.343 units of Waves (WAVES) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

254.   44542 units of XRP (XRP) formerly held in Binance.us account number 35000066
       in the name of Alameda Research LTD;

                                     15
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 24 of 51


255.   6482703 units of Zilliqa (ZIL) formerly held in Binance.us account number
       35000066 in the name of Alameda Research LTD;

256.   A Bombardier Global 5000 BD-700-1A11 Aircraft Bearing Registration Number
       N410AT and Manufacturer Serial Number 9295, and related maintenance logs and
       engine logs;

257.   An Embraer Legacy EMB-135BJ Aircraft Bearing Registration Number C6-BDE
       and Manufacturer Serial Number 14500967;

258.   Any and all funds at Flagstar Bank, f/k/a “Signature Bank,” held in account number
       1504820218 at Signature Bank, held in the name of Samuel Bankman-Fried and
       Luk Wei Chan;

259.   Any and all political contributions made by the Defendant that are proceeds
       traceable to the wire fraud and wire fraud conspiracy offenses charged in Counts
       One through Four of the Indictment or property involved in money laundering
       offense charged in Count Seven of the Indictment, including but not limited to:

       a.     All political contributions made by the Defendant to Alaska Democratic
              Party that have been returned to the Government;

       b.     All political contributions made by the Defendant to Angie Craig For
              Congress that have been returned to the Government;

       c.     All political contributions made by the Defendant to Arizona Democratic
              Party that have been returned to the Government;

       d.     All political contributions made by the Defendant to Arkansas For
              Leadership Political Action Committee (PAC) that have been returned to
              the Government;

       e.     All political contributions made by the Defendant to AXNE PAC
              (Americans X-Pect New Energy) that have been returned to the
              Government;

       f.     All political contributions made by the Defendant to Becca Balint For
              Vermont that have been returned to the Government;

       g.     All political contributions made by the Defendant to Ben Sasse For US
              Senate Inc. that have been returned to the Government;

       h.     All political contributions made by the Defendant to Beto O’Rourke that
              have been returned to the Government;

       i.     All political contributions made by the Defendant to Biden For President
              that have been returned to the Government;



                                       16
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 25 of 51


      j.    All political contributions made by the Defendant to Blue Nevada PAC that
            have been returned to the Government;

      k.    All political contributions made by the Defendant to Boozman For Arkansas
            that have been returned to the Government;

      l.    All political contributions made by the Defendant to Brittany Pettersen For
            Colorado that have been returned to the Government;

      m.    All political contributions made by the Defendant to California Democratic
            Party that have been returned to the Government;

      n.    All political contributions made by the Defendant to CHC Bold PAC that
            have been returned to the Government;

      o.    All political contributions made by the Defendant to Chuy Garcia For
            Congress that have been returned to the Government;

      p.    All political contributions made by the Defendant to Citizens For Boyle that
            have been returned to the Government;

      q.    All political contributions made by the Defendant to Colorado Democratic
            Party that have been returned to the Government;

      r.    All political contributions made by the Defendant to Connecticut
            Democratic State Central Committee that have been returned to the
            Government;

      s.    All political contributions made by the Defendant to Conole For Congress
            that have been returned to the Government;

      t.    All political contributions made by the Defendant to Cory Booker For
            Senate that have been returned to the Government;

      u.    All political contributions made by the Defendant to DC Democratic Party
            that have been returned to the Government;

      v.    All political contributions made by the Defendant to DCCC that have been
            returned to the Government;

      w.    All political contributions made by the Defendant to Democratic Executive
            Committee of Florida that have been returned to the Government;

      x.    All political contributions made by the Defendant to Democratic Grassroots
            Victory Fund that have been returned to the Government;

      y.    All political contributions made by the Defendant to Democratic Party of
            Arkansas that have been returned to the Government;

                                     17
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 26 of 51


      z.    All political contributions made by the Defendant to Democratic Party of
            Hawaii that have been returned to the Government;

      aa.   All political contributions made by the Defendant to Democratic Party of
            Illinois that have been returned to the Government;

      bb.   All political contributions made by the Defendant to Democratic Party of
            New Mexico-Federal that have been returned to the Government;

      cc.   All political contributions made by the Defendant to Democratic Party of
            Oregon that have been returned to the Government;

      dd.   All political contributions made by the Defendant to Democratic Party of
            South Carolina that have been returned to the Government;

      ee.   All political contributions made by the Defendant to Democratic Party of
            Virginia that have been returned to the Government;

      ff.   All political contributions made by the Defendant to Democratic Party of
            Wisconsin-Federal that have been returned to the Government;

      gg.   All political contributions made by the Defendant to Democratic State
            Central Committee of LA that have been returned to the Government;

      hh.   All political contributions made by the Defendant to Democratic State
            Committee (Delaware) that have been returned to the Government;

      ii.   All political contributions made by the Defendant to DMFI PAC that have
            been returned to the Government;

      jj.   All political contributions made by the Defendant to DNC Services
            Corp/Democratic National Committee that have been returned to the
            Government;

      kk.   All political contributions made by the Defendant to Foushee For Congress
            that have been returned to the Government;

      ll.   All political contributions made by the Defendant to Friends of Lucy
            McBath that have been returned to the Government;

      mm.   All political contributions made by the Defendant to Gallego For Arizona
            that have been returned to the Government;

      nn.   All political contributions made by the Defendant to Georgia Federal
            Elections Committee that have been returned to the Government;

      oo.   All political contributions made by the Defendant to Gillen For Congress
            that have been returned to the Government;

                                    18
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 27 of 51


      pp.    All political contributions made by the Defendant to Gillibrand For Senate
             that have been returned to the Government;

      qq.    All political contributions made by the Defendant to Granite Values PAC
             that have been returned to the Government;

      rr.    All political contributions made by the Defendant to Greater Opportunities
             For Leadership Development (Gold PAC) that have been returned to the
             Government;

      ss.    All political contributions made by the Defendant to Haley Stevens For
             Congress that have been returned to the Government;

      tt.    All political contributions made by the Defendant to Hoeven For Senate that
             have been returned to the Government;

      uu.    All political contributions made by the Defendant to Idaho State Democratic
             Party that have been returned to the Government;

      vv.    All political contributions made by the Defendant to Indiana Democratic
             Congressional Victory Committee that have been returned to the
             Government;

      ww.    All political contributions made by the Defendant to Iowa Democratic Party
             that have been returned to the Government;

      xx.    All political contributions made by the Defendant to Jake Auchincloss For
             Congress that have been returned to the Government;

      yy.    All political contributions made by the Defendant to Jasmine for US that
             have been returned to the Government;

      zz.    All political contributions made by the Defendant to Jeffries For Congress
             that have been returned to the Government;

      aaa.   All political contributions made by the Defendant to Jersey Values PAC
             that have been returned to the Government;

      bbb.   All political contributions made by the Defendant to Jim Costa For
             Congress that have been returned to the Government;

      ccc.   All political contributions made by the Defendant to Joni For Iowa that have
             been returned to the Government;

      ddd.   All political contributions made by the Defendant to Joseph Neguse For
             Congress that have been returned to the Government;



                                      19
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 28 of 51


      eee.   All political contributions made by the Defendant to Josh Gottheimer For
             Congress that have been returned to the Government;

      fff.   All political contributions made by the Defendant to Josh Harder For
             Congress that have been returned to the Government;

      ggg.   All political contributions made by the Defendant to Joyce Beatty that have
             been returned to the Government;

      hhh.   All political contributions made by the Defendant to Kansas Democratic
             Party that have been returned to the Government;

      iii.   All political contributions made by the Defendant to Kentucky State
             Democratic Central Committee that have been returned to the Government;

      jjj.   All political contributions made by the Defendant to Lisa Murkowski For
             US Senate that have been returned to the Government;

      kkk.   All political contributions made by the Defendant to Lou Correa For
             Congress that have been returned to the Government;

      lll.   All political contributions made by the Defendant to Maggie For NH that
             have been returned to the Government;

      mmm. All political contributions made by the Defendant to Maxwell Alejandro
           Frost For Congress that have been returned to the Government;

      nnn.   All political contributions made by the Defendant to Menendez For
             Congress that have been returned to the Government;

      ooo.   All political contributions made by the Defendant to Michigan Democratic
             State Central Committee that have been returned to the Government;

      ppp.   All political contributions made by the Defendant to Minnesota Democratic
             Farmer Labor Party that have been returned to the Government;

      qqq.   All political contributions made by the Defendant to Mississippi
             Democratic Party that have been returned to the Government;

      rrr.   All political contributions made by the Defendant to Missouri Democratic
             State Committee (Federal) that have been returned to the Government;

      sss.   All political contributions made by the Defendant to Montana Democratic
             Party that have been returned to the Government;

      ttt.   All political contributions made by the Defendant to Morgan McGarvey For
             Congress that have been returned to the Government;


                                     20
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 29 of 51


      uuu.    All political contributions made by the Defendant to Nebraska Democratic
              Party that have been returned to the Government;

      vvv.    All political contributions made by the Defendant to Nevada State
              Democratic Party that have been returned to the Government;

      www. All political contributions made by the Defendant to New Hampshire
           Democratic Party that have been returned to the Government;

      xxx.    All political contributions made by the Defendant to New Jersey
              Democratic State Committee that have been returned to the Government;

      yyy.    All political contributions made by the Defendant to Nikki For Congress
              that have been returned to the Government;

      zzz.    All political contributions made by the Defendant to North Carolina
              Democratic Party that have been returned to the Government;

      aaaa. All political contributions made by the Defendant to North Dakota
            Democratic Nonpartisan League Party that have been returned to the
            Government;

      bbbb. All political contributions made by the Defendant to Off the Sidelines PAC
            that have been returned to the Government;

      cccc. All political contributions made by the Defendant to Ohio Democratic Party
            that have been returned to the Government;

      dddd. All political contributions made by the Defendant to Oklahoma Democratic
            Party that have been returned to the Government;

      eeee. All political contributions made by the Defendant to Pennsylvania
            Democratic Party that have been returned to the Government;

      ffff.   All political contributions made by the Defendant to People for Patty
              Murray that have been returned to the Government;

      gggg. All political contributions made by the Defendant to Peter Aguilar For
            Congress that have been returned to the Government;

      hhhh. All political contributions made by the Defendant to Rhode Island
            Democratic State Committee that have been returned to the Government;

      iiii.   All political contributions made by the Defendant to Robert Garcia For
              Congress that have been returned to the Government;

      jjjj.   All political contributions made by the Defendant to Salud Carbajal For
              Congress that have been returned to the Government;

                                     21
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 30 of 51


      kkkk. All political contributions made by the Defendant to Sanford Bishop For
            Congress that have been returned to the Government;

      llll.   All political contributions made by the Defendant to Sean Patrick Maloney
              For Congress that have been returned to the Government;

      mmmm.     All political contributions made by the Defendant to Serving Our
          Country (SOC) PAC that have been returned to the Government;

      nnnn. All political contributions made by the Defendant to Shontel Brown For
            Congress that have been returned to the Government;

      oooo. All political contributions made by the Defendant to South Dakota
            Democratic Party-Federal that have been returned to the Government;

      pppp. All political contributions made by the Defendant to Stabenow For US
            Senate that have been returned to the Government;

      qqqq. All political contributions made by the Defendant to State Democratic
            Executive Committee of Alabama that have been returned to the
            Government;

      rrrr.   All political contributions made by the Defendant to Summit PAC that have
              been returned to the Government;

      ssss.   All political contributions made by the Defendant to Team Blue PAC that
              have been returned to the Government;

      tttt.   All political contributions made by the Defendant to Tennessee Democratic
              Party that have been returned to the Government;

      uuuu. All political contributions made by the Defendant to Texas Democratic
            Party that have been returned to the Government;

      vvvv. All political contributions made by the Defendant to Tina Smith For
            Minnesota that have been returned to the Government;

      wwww.      All political contributions made by the Defendant to Tom
          O’Halleran for Congress that have been returned to the Government;

      xxxx. All political contributions made by the Defendant to Torres For Congress
            that have been returned to the Government;

      yyyy. All political contributions made by the Defendant to Utah State Democratic
            Committee that have been returned to the Government;

      zzzz. All political contributions made by the Defendant to Valley First Leadership
            PAC that have been returned to the Government;

                                      22
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 31 of 51


      aaaaa. All political contributions made by the Defendant to Vermont Democratic
             Party that have been returned to the Government;

      bbbbb. All political contributions made by the Defendant to W Va State Democratic
             Ex Com that have been returned to the Government;

      ccccc. All political contributions made by the Defendant to Washington State
             Democratic Central Committee that have been returned to the Government;

      ddddd. All political contributions made by the Defendant to Welch For Vermont
             that have been returned to the Government;

      eeeee. All political contributions made by the Defendant to Working Harder PAC
             that have been returned to the Government;

      fffff.   All political contributions made by the Defendant to Wyden for Senate that
               have been returned to the Government;

      ggggg. All political contributions made by the Defendant to Wyoming Democratic
             Party that have been returned to the Government;

      hhhhh. All political contributions made by the Defendant to Across The Aisle
             PAC;

      iiiii.   All political contributions made by the Defendant to Activate America;

      jjjjj.   All political contributions made by the Defendant to Alabama
               Conservatives Fund;

      kkkkk. All political contributions made by the Defendant to Alessandra Biaggi
             For Congress;

      lllll.   All political contributions made by the Defendant to Alex Padilla For
               Senate;

      mmmmm.      All political contributions made by the Defendant to America
          United;

      nnnnn. All political contributions made by the Defendant to BFB PAC;

      ooooo. All political contributions made by the Defendant to Bill Cassidy for US
             Senate;

      ppppp. All political contributions made by the Defendant to Carl Marlinga For
             Congress;

      qqqqq. All political contributions made by the Defendant to Carrick Flynn For
             Oregon;

                                       23
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 32 of 51



      rrrrr.    All political contributions made by the Defendant to Center for Essential
                Information;

      sssss. All political contributions made by the Defendant to Collins for Senator;

      ttttt.    All political contributions made by the Defendant to Democratic Party of
                Maine;

      uuuuu. All political contributions made by the Defendant to Democratic State
             Central Committee of Maryland;

      vvvvv. All political contributions made by the Defendant to DSCC;

      wwwww.           All political contributions made by the Defendant to FF PAC;

      xxxxx. All political contributions made by the Defendant to Friends of Dick
             Durbin Committee;

      yyyyy. All political contributions made by the Defendant to Friends of Glenn
             Thompson;

      zzzzz. All political contributions made by the Defendant to Friends of John
             Thune;

      aaaaaa. All political contributions made by the Defendant to Gilbert Villegas For
              Congress;

      bbbbbb.          All political contributions made by the Defendant to GMI PAC;

      cccccc. All political contributions made by the Defendant to Great Lakes PAC;

      dddddd.     All political contributions made by the Defendant to Greater
            Tomorrow Political Action Committee;

      eeeeee. All political contributions made by the Defendant to Guarding Against
              Pandemics PAC;

      ffffff. All political contributions made by the Defendant to Heartland
              Resurgence;

      gggggg.      All political contributions made by the Defendant to Heartland
            Values PAC;

      hhhhhh.      All political contributions made by the Defendant to House
            Majority PAC;

      iiiiii.   All political contributions made by the Defendant to Jimmy Panetta;

                                         24
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 33 of 51



      jjjjjj.   All political contributions made by the Defendant to Joining Ideas To
                Motivate Movement For You (Jimmy PAC);

      kkkkkk.     All political contributions made by the Defendant to Limitless
            Horizons;

      llllll.   All political contributions made by the Defendant to Manchin For West
                Virginia;

      mmmmmm. All political contributions made by the Defendant to Massachusetts
          Democratic State Committee;

      nnnnnn.     All political contributions made by the Defendant to Max Rose For
            Congress;

      oooooo.      All political contributions made by the Defendant to National
            Wildlife Federation Action Fund;

      pppppp.      All political contributions made by the Defendant to Nevadans For
            Steven Horsford;

      qqqqqq.      All political contributions made by the Defendant to Opportunity
            for Tomorrow;

      rrrrrr. All political contributions made by the Defendant to Oregon Victory
              Fund;

      ssssss. All political contributions made by the Defendant to Prairie Political
              Action Committee;

      tttttt.   All political contributions made by the Defendant to Protect Our Future
                PAC;

      uuuuuu.     All political contributions made by the Defendant to Quartey For
            Congress;

      vvvvvv.          All political contributions made by the Defendant to Richard Burr;

      wwwwww. All political contributions made by the Defendant to Ro for
          Congress Inc;

      xxxxxx.      All political contributions made by the Defendant to Romney for
            Utah Inc;

      yyyyyy.      All political contributions made by the Defendant to Senate
            Majority PAC;


                                        25
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 34 of 51


       zzzzzz. All political contributions made by the Defendant to Sydney Kamlager For
               Congress;

       aaaaaaa.    All political contributions made by the Defendant to The Next 50
              PAC;

       bbbbbbb.      All political contributions made by the Defendant to Troy Carter;

       ccccccc.     All political contributions made by the Defendant to Vote Tripling
              PAC (now Vote REV PAC);

       ddddddd.   All political contributions made by the Defendant to WY
             Democratic State Central Committee.


260.   Any and all political contributions made by Ryan Salame that are proceeds
       traceable to the wire fraud and wire fraud conspiracy offenses charged in Counts
       One through Four of the Indictment or property involved in money laundering
       offense charged in Count Seven of the Indictment, including but not limited to:

       a.      All political contributions made by Ryan Salame to Abraham Lincoln PAC
               that have been returned to the Government;

       b.      All political contributions made by Ryan Salame to Americans for
               Legislating Excellence PAC that have been returned to the Government;

       c.      All political contributions made by Ryan Salame to Andy Harris for
               Congress that have been returned to the Government;

       d.      All political contributions made by Ryan Salame to August Pfluger for
               Congress that have been returned to the Government;

       e.      All political contributions made by Ryan Salame to Ben Cline for Congress
               Inc. that have been returned to the Government;

       f.      All political contributions made by Ryan Salame to Bilirakis for Congress
               that have been returned to the Government;

       g.      All political contributions made by Ryan Salame to Bishop for Congress
               that have been returned to the Government;

       h.      All political contributions made by Ryan Salame to Blake Masters for
               Senate that have been returned to the Government;

       i.      All political contributions made by Ryan Salame to Boozman
               for Arkansas that have been returned to the Government;



                                      26
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 35 of 51


       j.    All political contributions made by Ryan Salame to Brian Fitzpatrick for
             All of Us that have been returned to the Government;

       k.    All political contributions made by Ryan Salame to Bucshon for Congress
             that have been returned to the Government;

       l.    All political contributions made by Ryan Salame to Buddy Carter
             for Congress that have been returned to the Government;

       m.    All political contributions made by Ryan Salame to Chuck Edwards for
             Congress that have been returned to the Government;

       n.    All political contributions made by Ryan Salame to Chuck Fleischmann
             for Congress Committee, Inc. that have been returned to the Government;

       o.    All political contributions made by Ryan Salame to Citizens for John
             Rutherford that have been returned to the Government;

       p.    All political contributions made by Ryan Salame to Citizens for Turner that
             have been returned to the Government;

       q.    All political contributions made by Ryan Salame to Clyde for Congress,
             Inc. that have been returned to the Government;

       r.    All political contributions made by Ryan Salame to Cole for Congress
             that have been returned to the Government;

       s.    All political contributions made by Ryan Salame to Dakota PAC
             that have been returned to the Government;

       t.    All political contributions made by Ryan Salame to Dan Crenshaw for
             Congress that have been returned to the Government;

       u.    All political contributions made by Ryan Salame to Dan Newhouse for
             Congress that have been returned to the Government;

       v.    All political contributions made by Ryan Salame to Debbie Lesko for
             Congress that have been returned to the Government;

       w.    All political contributions made by Ryan Salame to Defend our
             Conservative Senate PAC that have been returned to the Government;

       x.    All political contributions made by Ryan Salame to Dr. John Joyce for
             Congress that have been returned to the Government;

       y.    All political contributions made by Ryan Salame to Eli Crane for Congress
             that have been returned to the Government;


                                     27
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 36 of 51


       z.    All political contributions made by Ryan Salame to Elise for Congress that
             have been returned to the Government;

       aa.   All political contributions made by Ryan Salame to Free State PAC
             that have been returned to the Government;

       bb.   All political contributions made by Ryan Salame to Friends for Chris
             Stewart that have been returned to the Government;

       cc.   All political contributions made by Ryan Salame to Friends of Dave Joyce
             that have been returned to the Government;

       dd.   All political contributions made by Ryan Salame to Gary Palmer for
             Congress that have been returned to the Government;

       ee.   All political contributions made by Ryan Salame to Grassley Committee,
             Inc. that have been returned to the Government;

       ff.   All political contributions made by Ryan Salame to Guthrie for Congress
             that have been returned to the Government;

       gg.   All political contributions made by Ryan Salame to Hawkeye PAC
             that have been returned to the Government;

       hh.   All political contributions made by Ryan Salame to Hoeven for Senate that
             have been returned to the Government;

       ii.   All political contributions made by Ryan Salame to Jeff Duncan for
             Congress that have been returned to the Government;

       jj.   All political contributions made by Ryan Salame to Johnson for Congress
             that have been returned to the Government;

       kk.   All political contributions made by Ryan Salame to Joni of Iowa that have
             been returned to the Government;

       ll.   All political contributions made by Ryan Salame to Julia Letlow
             for Congress that have been returned to the Government;

       mm.   All political contributions made by Ryan Salame to Karoline for Congress
             that have been returned to the Government;

       nn.   All political contributions made by Ryan Salame to Kay Granger
             Campaign Fund that have been returned to the Government;

       oo.   All political contributions made by Ryan Salame to Ken Calvert
             for Congress Committee that have been returned to the Government;


                                     28
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 37 of 51


       pp.    All political contributions made by Ryan Salame to Latta for Congress that
              have been returned to the Government;

       qq.    All political contributions made by Ryan Salame to Lawler for Congress
              that have been returned to the Government;

       rr.    All political contributions made by Ryan Salame to Laxalt for Senate
              that have been returned to the Government;

       ss.    All political contributions made by Ryan Salame to Lisa Murkowski
              for US Senate that have been returned to the Government;

       tt.    All political contributions made by Ryan Salame to Lori Chavez-Deremer
              for Congress that have been returned to the Government;

       uu.    All political contributions made by Ryan Salame to Marc for Us Inc. that
              have been returned to the Government;

       vv.    All political contributions made by Ryan Salame to Mario Diaz-Balart
              for Congress that have been returned to the Government;

       ww.    All political contributions made by Ryan Salame to Mark Alford
              for Congress that have been returned to the Government;

       xx.    All political contributions made by Ryan Salame to Max Miller
              for Congress that have been returned to the Government;

       yy.    All political contributions made by Ryan Salame to Mike Flood
              for Congress that have been returned to the Government;

       zz.    All political contributions made by Ryan Salame to Mike Garcia
              for Congress that have been returned to the Government;

       aaa.   All political contributions made by Ryan Salame to Monica for Congress
              that have been returned to the Government;

       bbb.   All political contributions made by Ryan Salame to Moolenaar
              for Congress that have been returned to the Government;

       ccc.   All political contributions made by Ryan Salame to Mooney for Congress
              2022 that have been returned to the Government;

       ddd.   All political contributions made by Ryan Salame to Moran for Kansas
              that have been returned to the Government;

       eee.   All political contributions made by Ryan Salame to Morgan Griffith for
              Congress that have been returned to the Government;


                                      29
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 38 of 51


       fff.   All political contributions made by Ryan Salame to MVL-PAC
              that have been returned to the Government;

       ggg.   All political contributions made by Ryan          Salame to NRSC,
              that have been returned to the Government;

       hhh.   All political contributions made by Ryan Salame to Reclaim America
              PAC, including those that have been returned to the Government;

       iii.   All political contributions made by Ryan Salame to Republican National
              Committee that have been returned to the Government;

       jjj.   All political contributions made by Ryan Salame to Results for NC, Inc
              that have been returned to the Government;

       kkk.   All political contributions made by Ryan Salame to Robert Aderholt for
              Congress that have been returned to the Government;

       lll.   All political contributions made by Ryan Salame to Simpson for Congress
              that have been returned to the Government;

       mmm. All political contributions made by Ryan Salame to Simpson for Congress
            that have been returned to the Government;

       nnn.   All political contributions made by Ryan Salame to Team Herschel, Inc.
              that have been returned to the Government;

       ooo.   All political contributions made by Ryan Salame to Tim Scott for Senate
              that have been returned to the Government;

       ppp.   All political contributions made by Ryan Salame to Tony Gonzales
              for Congress that have been returned to the Government;

       qqq.   All political contributions made by Ryan Salame to Van Drew
              for Congress that have been returned to the Government;

       rrr.   All political contributions made by Ryan Salame to Walberg for Congress
              that have been returned to the Government;

       sss.   All political contributions made by Ryan Salame to Wenstrup
              for Congress that have been returned to the Government;

       ttt.   All political contributions made by Ryan Salame to West Virginia
              Republican Party, Inc. that have been returned to the Government;

       uuu.   All political contributions made by Ryan Salame to Zeldin for Congress
              that have been returned to the Government;


                                     30
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 39 of 51


       vvv.    All political contributions made by Ryan Salame to Zeldin for Governor
               that have been returned to the Government;

       www. All political contributions made by Ryan Salame to Aaron Bean for
            Congress;

       xxx.    All political contributions made by Ryan Salame to Alamo PAC;

       yyy.    All political contributions made by Ryan Salame to American Dream
               Federal Action;

       zzz.    All political contributions made by Ryan Salame to Armstrong for
               Congress;

       aaaa. All political contributions made by Ryan Salame to Ashley Hinson for
             Congress;

       bbbb. All political contributions made by Ryan Salame to Bluegrass CMTE;

       cccc. All political contributions made by Ryan Salame to Brett Guthrie for
             Congress;

       dddd. All political contributions made by Ryan Salame to Britt for Alabama Inc;

       eeee. All political contributions made by Ryan Salame to Captain Higgins for
             Congress;

       ffff.   All political contributions made by Ryan Salame to Carlos Gimenez for
               Congress;

       gggg. All political contributions made by Ryan Salame to Cassy for Congress;

       hhhh. All political contributions made by Ryan Salame to Cathy McMorris
             Rodgers for Congress;

       iiii.   All political contributions made by Ryan Salame to Cindy Hyde-Smith for
               US Senate;

       jjjj.   All political contributions made by Ryan Salame to Club for Growth
               Action;

       kkkk. All political contributions made by Ryan Salame to Committee to Elect
             Jennifer-Ruth Green;

       llll.   All political contributions made by Ryan Salame to Congressional
               Leadership Fund;



                                      31
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 40 of 51


       mmmm.    All political contributions made by Ryan Salame to Continuing
           America's Strength and Security PAC;

       nnnn. All political contributions made by Ryan Salame to Cornicelli for
             Congress;

       oooo. All political contributions made by Ryan Salame to Crane for Congress;

       pppp. All political contributions made by Ryan Salame to Crapo Victory
             Committee;

       qqqq. All political contributions made by Ryan Salame to Crawford for
             Congress;

       rrrr.   All political contributions made by Ryan Salame to Crenshaw for
               Congress;

       ssss.   All political contributions made by Ryan Salame to Curtis for Congress;

       tttt.   All political contributions made by Ryan Salame to Defending Main Street
               Superpac Inc.;

       uuuu. All political contributions made by Ryan Salame to Devolder Santos for
             Congress;

       vvvv. All political contributions made by Ryan Salame to Diana for Congress;

       wwww.     All political contributions made by Ryan Salame to Doctor Oz for
           Senate;

       xxxx. All political contributions made by Ryan Salame to Emmer for Congress;

       yyyy. All political contributions made by Ryan Salame to Finstad for Congress;

       zzzz. All political contributions made by Ryan Salame to Fischer Victory Fund;

       aaaaa. All political contributions made by Ryan Salame to Fleischmann for
              Congress;

       bbbbb. All political contributions made by Ryan Salame to Friends of David
              Schweikert;

       ccccc. All political contributions made by Ryan Salame to Friends of Dusty
              Johnson;

       ddddd. All political contributions made by Ryan Salame to Friends of Glenn
              Thompson;


                                      32
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 41 of 51


       eeeee. All political contributions made by Ryan Salame to Friends of Jeremy
              Shaffer;

       fffff.   All political contributions made by Ryan Salame to Friends of John Thune;

       ggggg. All political contributions made by Ryan Salame to Friends of Michael
              Guest;

       hhhhh. All political contributions made by Ryan Salame to Friends of Neal Dunn;

       iiiii.   All political contributions made by Ryan Salame to Garbarino for
                Congress;

       jjjjj.   All political contributions made by Ryan Salame to GMI Pac, Inc.;

       kkkkk. All political contributions made by Ryan Salame to GOP Winning
              Women-Florida;

       lllll.   All political contributions made by Ryan Salame to Greg Pence for
                Congress;

       mmmmm. All political contributions made by Ryan Salame to Guy for
           Congress;

       nnnnn. All political contributions made by Ryan Salame to Hal Rogers for
              Congress;

       ooooo. All political contributions made by Ryan Salame to Help Elect
              Republicans Now;

       ppppp. All political contributions made by Ryan Salame to Hern for Congress;

       qqqqq. All political contributions made by Ryan Salame to Houchin for Congress;

       rrrrr.   All political contributions made by Ryan Salame to Hudson for Congress;

       sssss. All political contributions made by Ryan Salame to JD Vance for Senate
              Inc.;

       ttttt.   All political contributions made by Ryan Salame to Jobs Opportunity and
                Ideas PAC;

       uuuuu. All political contributions made by Ryan Salame to John Carter for
              Congress;

       vvvvv. All political contributions made by Ryan Salame to John Curtis for
              Congress;


                                       33
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 42 of 51


       wwwww.   All political contributions made by Ryan Salame to John Joyce for
           Congress;

       xxxxx. All political contributions made by Ryan Salame to Kansans for LaTurner;

       yyyyy. All political contributions made by Ryan Salame to Kat for Congress;

       zzzzz. All political contributions made by Ryan Salame to Kelly for Congress;

       aaaaaa. All political contributions made by Ryan Salame to Kevin McCarthy for
               Congress;

       bbbbbb.    All political contributions made by Ryan Salame to Kiggans for
             Congress;

       cccccc. All political contributions made by Ryan Salame to Leadership and
               Accountability are National Keys PAC;

       dddddd.   All political contributions made by Ryan Salame to Majority
             Committee PAC—MC PAC;

       eeeeee. All political contributions made by Ryan Salame to Marco Rubio for
               Senate;

       ffffff. All political contributions made by Ryan Salame to McCaul for Congress
               Inc;

       gggggg.    All political contributions made by Ryan Salame to Michael
             Burgess for Congress;

       hhhhhh.     All political contributions made by Ryan Salame to Michelle Bond
             for Congress;

       iiiiii.   All political contributions made by Ryan Salame to Mike Gallagher for
                 Wisconsin;

       jjjjjj.   All political contributions made by Ryan Salame to Miller-Meeks for
                 Congress;

       kkkkkk.         All political contributions made by Ryan Salame to Montana Red;

       llllll.   All political contributions made by Ryan Salame to New York State
                 Republican Party;

      mmmmmm.          All political contributions made by Ryan Salame to NRCC;

       nnnnnn.     All political contributions made by Ryan Salame to NY Republican
             Federal Campaign Committee;

                                       34
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 43 of 51



       oooooo.    All political contributions made by Ryan Salame to Scalise for
             Congress;

       pppppp.    All political contributions made by Ryan Salame to Scheller for
             Congress Inc;

       qqqqqq.     All political contributions made by Ryan Salame to Schmitt for
             Senate;

       rrrrrr. All political contributions made by Ryan Salame to Senate Leadership
               Fund;

       ssssss. All political contributions made by Ryan Salame to St Mooney V Fund;

       tttttt.   All political contributions made by Ryan Salame to Stand for New York
                 Committee;

       uuuuuu.         All political contributions made by Ryan Salame to Steer PAC;

       vvvvvv.    All political contributions made by Ryan Salame to Take Back the
             House 2022;

       wwwwww. All political contributions made by Ryan Salame to Team
           McConnell;

       xxxxxx.         All political contributions made by Ryan Salame to Team Ronny;

       yyyyyy.     All political contributions made by Ryan Salame to Ted Budd for
             Senate;

       zzzzzz. All political contributions made by Ryan Salame to Texans for Ronny
               Jackson;

       aaaaaaa.        All political contributions made by Ryan Salame to Texas Red;

       bbbbbbb.   All political contributions made by Ryan Salame to Valadao for
             Congress;

       ccccccc.      All political contributions made by Ryan Salame to Value in
              Electing Women Political Action Committee;

       ddddddd.   All political contributions made by Ryan Salame to Womack for
             Congress Committee;

261.   Any and all political contributions made by Nishad Singh that are proceeds
       traceable to the wire fraud and wire fraud conspiracy offenses charged in Counts


                                       35
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 44 of 51


      One through Four of the Indictment or property involved in money laundering
      offense charged in Count Seven of the Indictment, including but not limited to:

      a.      All political contributions made by Nishad Singh to America Needs New
              Innovation and Energy PAC that have been returned to the Government;

      b.      All political contributions made by Nishad Singh to AMERIPAC that
              have been returned to the Government;

      c.      All political contributions made by Nishad Singh to Anna Eshoo
              for Congress that have been returned to the Government;

      d.      All political contributions made by Nishad Singh to Athena PAC that have
              been returned to the Government;

      e.      All political contributions made by Nishad Singh to Barragan
              for Congress that have been returned to the Government;

      f.      All political contributions made by Nishad Singh to Bennie Thompson for
              Congress that have been returned to the Government;

      g.      All political contributions made by Nishad Singh to Blue Majority PAC
              that have been returned to the Government;

      h.      All political contributions made by Nishad Singh to Bob Casey for Senate
              that have been returned to the Government;

      i.      All political contributions made by Nishad Singh to Bonnie Watson
              Coleman for Congress that have been returned to the Government;

      j.      All political contributions made by Nishad Singh to Caraveo
              for Congress that have been returned to the Government;

      k.      All political contributions made by Nishad Singh to Cartwright
              for Congress that have been returned to the Government;

      l.      All political contributions made by Nishad Singh to Casten for Congress
              that have been returned to the Government;

      m.      All political contributions made by Nishad Singh to Castor for Congress
              that have been returned to the Government;

      n.      All political contributions made by Nishad Singh to Chris Pappas for
              Congress that have been returned to the Government;

      o.      All political contributions made by Nishad Singh to Clarke for Congress
              that have been returned to the Government;


                                     36
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 45 of 51


      p.     All political contributions made by Nishad Singh to Cleaver for Congress
             that have been returned to the Government;

      q.     All political contributions made by Nishad Singh to Committee for a
             Democratic Future that have been returned to the Government;

      r.     All political contributions made by Nishad Singh to Conole for Congress
             that have been returned to the Government;

      s.     All political contributions made by Nishad Singh to Country Roads PAC
             that have been returned to the Government;

      t.     All political contributions made by Nishad Singh to Debbie Dingell
             for Congress that have been returned to the Government;

      u.     All political contributions made by Nishad Singh to Doing Right – Results
             Action Unity leadership PAC that have been returned to the Government;

      v.     All political contributions made by Nishad Singh to Donald Payne Jr.
             for Congress that have been returned to the Government;

      w.     All political contributions made by Nishad Singh to Dr. Kim Schrier
             for Congress that have been returned to the Government;

      x.     All political contributions made by Nishad Singh to Dr. Raul Ruiz
             for Congress that have been returned to the Government;

      y.     All political contributions made by Nishad Singh to DSCC that have been
             returned to the Government;

      z.     All political contributions made by Nishad Singh to Dutch for Congress
             that have been returned to the Government;

      aa.    All political contributions made by Nishad Singh to Elissa Slotkin
             for Congress that have been returned to the Government;

      bb.    All political contributions made by Nishad Singh to Elizabeth Pannill
             Fletcher for Congress that have been returned to the Government;

      cc.    All political contributions made by Nishad Singh to Fair Shot PAC
             that have been returned to the Government;

      dd.    All political contributions made by Nishad Singh to Follow the North Star
             that have been returned to the Government;

      ee.    All political contributions made by Nishad Singh to Forward Together
             PAC that have been returned to the Government;


                                    37
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 46 of 51


      ff.    All political contributions made by Nishad Singh to Friends of Dan Kildee
             that have been returned to the Government;

      gg.    All political contributions made by Nishad Singh to Friends of Rosa
             DeLauro that have been returned to the Government;

      hh.    All political contributions made by Nishad Singh to Friends of Schumer
             that have been returned to the Government;

      ii.    All political contributions made by Nishad Singh to Getting Stuff Done
             that have been returned to the Government;

      jj.    All political contributions made by Nishad Singh to Greg Casar
             for Congress that have been returned to the Government;

      kk.    All political contributions made by Nishad Singh to Hawaii PAC that have
             been returned to the Government;

      ll.    All political contributions made by Nishad Singh to Hoyer for Congress
             that have been returned to the Government;

      mm.    All political contributions made by Nishad Singh to Jeff Jackson for
             Congress that have been returned to the Government;

      nn.    All political contributions made by Nishad Singh to Jeffries for Congress
             that have been returned to the Government;

      oo.    All political contributions made by Nishad Singh to Kaine for Virginia
             that have been returned to the Government;

      pp.    All political contributions made by Nishad Singh to Keep Al Green
             in Congress that have been returned to the Government;

      qq.    All political contributions made by Nishad Singh to Keystone America
             PAC that have been returned to the Government;

      rr.    All political contributions made by Nishad Singh to Kuster for Congress,
             Inc. that have been returned to the Government;

      ss.    All political contributions made by Nishad Singh to Leadership
             Opportunity, Innovation Service PAC – LOIS PAC that have been
             returned to the Government;

      tt.    All political contributions made by Nishad Singh to Leading People
             Forward PAC that have been returned to the Government;

      uu.    All political contributions made by Nishad Singh to Lois Frankel for
             Congress that have been returned to the Government;

                                    38
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 47 of 51



      vv.    All political contributions made by Nishad Singh to Lori Trahan for
             Congress Committee that have been returned to the Government;

      ww.    All political contributions made by Nishad Singh to Luchadora PAC that
             have been returned to the Government;

      xx.    All political contributions made by Nishad Singh to Mark Pocan for
             Congress that have been returned to the Government;

      yy.    All political contributions made by Nishad Singh to Matsui for Congress
             that have been returned to the Government;

      zz.    All political contributions made by Nishad Singh to Montanans for Tester
             that have been returned to the Government;

      aaa.   All political contributions made by Nishad Singh to Moving Broward
             Forward PAC that have been returned to the Government;

      bbb.   All political contributions made by Nishad Singh to Nancy Pelosi for
             Congress that have been returned to the Government;

      ccc.   All political contributions made by Nishad Singh to Narragansett Bay
             PAC that have been returned to the Government;

      ddd.   All political contributions made by Nishad Singh to New Mexican’s
             for Michelle that have been returned to the Government;

      eee.   All political contributions made by Nishad Singh to Oregon Democratic
             Party that have been returned to the Government;

      fff.   All political contributions made by Nishad Singh to PAC to the Future
             that have been returned to the Government;

      ggg.   All political contributions made by Nishad Singh to Pete Aguilar For
             Congress that have been returned to the Government;

      hhh.   All political contributions made by Nishad Singh to Peters for Michigan
             that have been returned to the Government;

      iii.   All political contributions made by Nishad Singh to Priorities USA Action
             that have been returned to the Government;

      jjj.   All political contributions made by Nishad Singh to Quigley for Congress
             that have been returned to the Government;

      kkk.   All political contributions made by Nishad Singh to Robin Kelly
             for Congress that have been returned to the Government;

                                    39
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 48 of 51



      lll.    All political contributions made by Nishad Singh to SAC PAC that have
              been returned to the Government;

      mmm.    All political contributions made by Nishad Singh to Schatz for Senate that
              have been returned to the Government;

      nnn.    All political contributions made by Nishad Singh to Shaheen for Senate
              that have been returned to the Government;

      ooo.    All political contributions made by Nishad Singh to Sinema for Arizona
              that have been returned to the Government;

      ppp.    All political contributions made by Nishad Singh to Treasure State PAC
              that have been returned to the Government;

      qqq.    All political contributions made by Nishad Singh to Val Hoyle for
              Congress that have been returned to the Government;

      rrr.    All political contributions made by Nishad Singh to Velvet Hammer PAC
              that have been returned to the Government;

      sss.    All political contributions made by Nishad Singh to Visionary PAC that
              have been returned to the Government;

      ttt.    All political contributions made by Nishad Singh to Wolverine PAC that
              have been returned to the Government;

      uuu.    All political contributions made by Nishad Singh to Barbara Lee for
              Congress;

      vvv.    All political contributions made by Nishad Singh to Building
              Relationships in Diverse Geographic Environments PAC (Bridge PAC);

      www.    All political contributions made by Nishad Singh to BWC - Because
              Women Can PAC;

      xxx.    All political contributions made by Nishad Singh to Catherine Cotez
              Masto for Senate;

      yyy.    All political contributions made by Nishad Singh to Cortez Mastro
              Victory Fund;

      zzz.    All political contributions made by Nishad Singh to Elaine for Congress;

      aaaa.   All political contributions made by Nishad Singh to Elect Katie Hobbs;

      bbbb.   All political contributions made by Nishad Singh to Fetterman for PA;

                                     40
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 49 of 51



      cccc. All political contributions made by Nishad Singh to FF PAC;

      dddd.   All political contributions made by Nishad Singh to First State PAC;

      eeee.   All political contributions made by Nishad Singh to Friends of Lizzie
              Fletcher;

      ffff.   All political contributions made by Nishad Singh to Friends of Mark
              Warner;

      gggg.   All political contributions made by Nishad Singh to Gabe Vasquez for
              Congress;

      hhhh.   All political contributions made by Nishad Singh to House Democratic
              Campaign Cmte of Maine;

      iiii.   All political contributions made by Nishad Singh to IMPACT;

      jjjj.   All political contributions made by Nishad Singh to Iowa Democratic
              Party;

      kkkk.   All political contributions made by Nishad Singh to Jared Golden;

      llll.   All political contributions made by Nishad Singh to LGBTQ Victory
              Fund Federal PAC;

      mmmm. All political contributions made by Nishad Singh to Maine Democratic
            Party;

      nnnn.   All political contributions made by Nishad Singh to Mark Kelly for
              Senate;

      oooo.   All political contributions made by Nishad Singh to Marlinga for
              Congress;

      pppp.   All political contributions made by Nishad Singh to McGarvey Victory
              Fund;

      qqqq.   All political contributions made by Nishad Singh to Mind the Gap;

      rrrr.   All political contributions made by Nishad Singh to Motor City PAC;

      ssss.   All political contributions made by Nishad Singh to M-PAC;

      tttt.   All political contributions made by Nishad Singh to Nevada Democratic
              Victory;


                                    41
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 50 of 51


      uuuu.    All political contributions made by Nishad Singh to New York State
               Democratic Committee;

      vvvv.    All political contributions made by Nishad Singh to O’Rourke, Beto;

      wwww. All political contributions made by Nishad Singh to One Voice;

      xxxx.    All political contributions made by Nishad Singh to Pallone for Congress;

      yyyy.    All political contributions made by Nishad Singh to Peoples Voice PAC;

      zzzz.    All political contributions made by Nishad Singh to Protect Our Future
               PAC;

      aaaaa.   All political contributions made by Nishad Singh to Purpose PAC;

      bbbbb.   All political contributions made by Nishad Singh to Reproductive
               Freedom for All;

      ccccc.   All political contributions made by Nishad Singh to Senate Democratic
               Campaign Cmte of Maine;

      ddddd.   All political contributions made by Nishad Singh to Shore PAC;

      eeeee.   All political contributions made by Nishad Singh to SMP;

      fffff.   All political contributions made by Nishad Singh to Spanberger for
               Congress;

      ggggg.   All political contributions made by Nishad Singh to Spike PAC;

      hhhhh.   All political contributions made by Nishad Singh to Stabenow for US
               Senate;

      iiiii.   All political contributions made by Nishad Singh to Susie Lee for
               Congress;

      jjjjj.   All political contributions made by Nishad Singh to Tim Ryan for Ohio;

      kkkkk.   All political contributions made by Nishad Singh to Titus for Congress;

      lllll.   All political contributions made by Nishad Singh to Tom Malinowski for
               Congress;

      mmmmm.    All political contributions made by Nishad Singh to Tony Cardenas
           for Congress;

      nnnnn.   All political contributions made by Nishad Singh to Torres for Congress;

                                      42
Case 1:22-cr-00673-LAK Document 410-6 Filed 03/15/24 Page 51 of 51



      ooooo.   All political contributions made by Nishad Singh to Vermont Senate
               Victory Fund;

      ppppp.   All political contributions made by Nishad Singh to Vibe PAC;

      qqqqq.   All political contributions made by Nishad Singh to Vote Tripling PAC
               (now Vote REV PAC);

      rrrrr.   All political contributions made by Nishad Singh to Wexton for Congress;
               and

      sssss.   All political contributions made by Nishad Singh to Women Vote!




                                     43
